Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 1 of 34




       UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

GIANINNA GALLARDO, AN
INCAPACITATED PERSON, BY
AND THROUGH HER PARENTS
AND CO-GUARDIANS, PILAR
VASSALLO AND WALTER
GALLARDO,

            Plaintiff,

v.                                   Case No. 4:16cv116-MW/CAS

ELIZABETH DUDEK, IN HER
OFFICIAL CAPACITY AS SECRETARY
OF FLORIDA AGENCY FOR HEALTH
CARE ADMINISTRATION,

            Defendant.
__________________________/

       ORDER ON SUMMARY JUDGMENT MOTIONS

      Imagine this scenario. You’re the parent of a thirteen-year-

old girl, whom you love dearly. She is your world. Tragically, one

day you receive the phone call that every parent fears more than

anything; the daughter that you adore was struck by a vehicle,

medevacked to a nearby hospital, and is now in critical condition.

Medicaid covers around $800,000 for her treatment. Although the

hospital staff tries their best, they aren’t miracle workers. As a

result of the accident, your beloved daughter is now in a persistent

                                 1
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 2 of 34




vegetative state and can no longer ambulate, communicate, eat, or

care for herself in any manner. You try to wake up from this

nightmare. But you’re not asleep—the nightmare is real.

      And it only gets worse. Knowing that your daughter will

need continuous medical care for the rest of her life (and hoping to

recover past expenses and emotional damages), you file suit

against the responsible parties. Even though your suit is worth

somewhere around $20,000,000, you eventually settle for

$800,000; a 4% recovery. You then notify the applicable state

agency, which will for purposes of this hypothetical be called “the

agency” for short, of the settlement and explain that around

$35,000 of that settlement is for past medical expenses—4% of the

approximately $800,000. Nonetheless, as allowed by the state’s

statute, the agency imposes an approximately $300,000 lien—an

amount representing, as prescribed by the state’s statute, 37.5% of

your settlement. Moreover, the agency seeks to satisfy that lien

from the settlement funds representing both past and future

medical expenses. And the only way you can successfully reduce

that lien is to prove by clear and convincing evidence that the




                                 2
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 3 of 34




actual amount allocable to past and future medical expenses is, in

fact, less than that $300,000.

      Gianinna Gallardo’s parents are currently living that

nightmare.      After   initiating   administrative   proceedings   to

challenge that lien, Gallardo’s parents and guardians filed this

case on her behalf seeking a declaratory judgment that Florida’s

reimbursement statute—which that hypothetical was based on—

violates federal law. Particularly relevant to that issue is the

federal Medicaid statute’s anti-lien provision, which generally

prohibits participating states from placing a lien on any portion of

a Medicaid beneficiary’s recovery not designated as payments for

medical care.

      Is Florida’s reimbursement statute preempted by federal

Medicaid law? The short answer is “yes.” By allowing the State

Agency for Health Care Administration (“AHCA”)—Florida’s

agency that is charged with administering Medicaid—to satisfy its

lien from settlement funds allocable to both past and future

medical expenses, Florida has run afoul of the Medicaid statute.

The same is true for Florida’s arbitrary, one-size-fits-all statutory

formula. Specifically, Florida’s reimbursement statute—which,

coupled with a host of other obstacles, only allows the Medicaid

                                     3
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 4 of 34




recipient to rebut that formula-based allocation by presenting

clear and convincing evidence that it is inaccurate—amounts to a

quasi-irrebuttable presumption and thus conflicts with and is

preempted by federal law.

       Gallardo’s Motion for Summary Judgment, ECF No. 11, is

therefore GRANTED, and AHCA’s                        Motion for Summary

Judgment, ECF No. 13, is therefore DENIED. 1

                                         I

       This     case    involves     a few relatively          straightforward

provisions of the otherwise dizzying Medicaid Act 2 and Florida’s

attempt to legislate against those provisions. To simplify this

Court’s analysis, it will outline the following in turn: (1) the

relevant portions of the federal Medicaid statute; (2) Florida’s

reimbursement statute; and (3) the underlying facts of this case.

                                 A. Federal Law

       Medicaid is a joint federal–state program designed to help

participating states provide medical treatment for their residents


       1This Court reaches these conclusions with the benefit of an April 11,
2017, hearing.

       2The Supreme Court has previously stated that Medicaid’s “Byzantine
construction . . . makes [it] ‘almost unintelligible to the uninitiated.’” Schweiker
v. Gray Panthers, 453 U.S. 34, 43 (1981) (quoting Friedman v. Berger, 547 F.2d
724, 727 n.7 (2d Cir. 1976)).
                                         4
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 5 of 34




that cannot afford to pay. Moore ex rel. Moore v. Reese, 637 F.3d

1220, 1232 (11th Cir. 2011). Although states are not required to

participate in Medicaid, all of them do. Id. The federal government

pays a significant portion of the costs for patient care and, in

return, the states pay the remainder and must comply with the

federal statutory and regulatory requirements. See Alexander v.

Choate, 469 U.S. 287, 289 n.1 (1985) (stating that the federal

government “subsidizes a significant portion of the financial

obligations the State has agreed to assume” and that “[o]nce a

State voluntarily chooses to participate in Medicaid, the State

must comply with the requirements of Title XIX and applicable

regulations” (citing Harris v. McRae, 448 U.S. 297, 301 (1980))).

      Two of those requirements are the so-called anti-lien and

anti-recovery provisions. These requirements are broad and

“express limits on the State’s powers to pursue recovery of funds it

paid on the recipient’s behalf.” Ark. Dep’t of Health & Human

Servs. v. Ahlborn, 547 U.S 268, 283 (2006). Specifically, the anti-

lien provision states that “[n]o lien may be imposed against the

property of any individual prior to his death on account of medical

assistance paid or to be paid on his behalf under the State plan,

[with exceptions not relevant here].” 42 U.S.C. § 1396p(a)(1)

                                 5
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 6 of 34




(2012). Similarly, the anti-recovery provision states that “[n]o

adjustment or recovery of any medical assistance correctly paid on

behalf of an individual under the State plan may be made, [with

exceptions not relevant here].” Id. § 1396p(b). Thus, considered

“literally and in isolation,” the anti-lien and anti-recovery

provisions prohibit states from reaching the proceeds from a

Medicaid recipient’s recovery. Ahlborn, 547 U.S. at 284.

        But the third-party liability and assignment provisions

temper that sweeping prohibition by providing narrow exceptions.

The third-party liability provision, for example, requires states “to

ascertain the legal liability of third parties . . . to pay for care and

services under the plan[.]” § 1396a(a)(25)(A). If third-party liability

is found to exist, states must seek reimbursement for medical

expenses incurred on behalf of recipients who later recover from

those third parties. See id. § 1396a(a)(25)(B) (“[I]n any case where

such a legal liability is found to exist after medical assistance has

been made available on behalf of the individual and where the

amount of reimbursement the State can reasonably expect to

recover exceeds the costs of such recovery, the State or local agency

will seek reimbursement for such assistance to the extent of such

legal   liability[.]”   (emphasis   added)).   Likewise,   under    the

                                    6
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 7 of 34




assignment provision, states must have in effect laws that, “to the

extent that payment has been made under the State plan for

medical assistance for health care items or services furnished to an

individual,” give the state the right to recover payment “for such

[furnished] health care items or services” from liable third parties.

Id. § 1396a(a)(25)(H) (emphasis added). To help effectuate that

requirement, states must require a recipient “to assign the State

any rights . . . to payment for medical care from any third party.”

Id. § 1396k(a)(1)(A) (emphasis added).

      To summarize, the third-party liability and assignment

provisions outlined in §§ 1396(a)(25) and 1396k(a) are narrow

exceptions to the broad anti-lien and anti-recovery provisions, and

those exceptions only apply to payments for medical care. See

Ahlborn, 547 U.S. at 284–85 (“As explained above, the exception

carved out by §§ 1396a(a)(25) and 1396k(a) is limited to payments

for medical care.”). “Beyond that, the anti-lien provision” shields a

recipient’s recovery from the state’s clutches. Id. at 285–86.

                             B. State Law

      Florida applies a one-size-fits-all statutory formula to

determine how much of a recipient’s recovery constitutes medical

expenses and is therefore available for Medicaid reimbursement.

                                 7
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 8 of 34




First, the formula reduces the gross recovery by 25% to account for

the recipient’s attorney’s fees. See § 409.910(11)(f)(1), Fla. Stat.

(2016) (deducting “attorney’s fees and taxable costs” from the

“judgment, award, or settlement”); id. § 409.910(11)(f)(3) (deciding

for purposes of the statutory formula that attorney’s fees “shall be

calculated at 25 percent of the judgment, award, or settlement”).

The already-reduced total is then cut in half, and AHCA is

awarded the lesser of the amount it actually paid or the resulting

number. See id. § 409.910(11)(f)(1) (awarding AHCA “one-half of

the remaining recovery” after accounting for attorney’s fees, “up to

the total amount of medical assistance provided by Medicaid”). The

remaining amount is paid to the Medicaid recipient. Id.

§409.910(11)(f)(2).

      The Medicaid recipient, however, may challenge that

formula-based allocation through an administrative proceeding.

To do so, the recipient must either pay AHCA the formula-based

reimbursement or place those reimbursement funds in an interest-

bearing trust account and then file a petition with the Division of

Administrative Hearings in Tallahassee. See id. § 409.910(17)(b)

(outlining the administrative procedure); id. § 409.910(17)(d)

(“Venue for all administrative proceedings pursuant to this

                                 8
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 9 of 34




subsection lies in Leon County, at the discretion of the agency.”

(footnote omitted)). To successfully challenge the formula-based

allocation and thus reduce the amount payable to AHCA, “the

recipient must prove, by clear and convincing evidence, that a

lesser portion of the total recovery should be allocated as

reimbursement for past and future medical expenses than the

amount” required by the statutory formula. Id. § 409.910(17)(b).

That administrative process “is the exclusive method for

challenging” the formula-based allocation. Id.

                           C. Present Litigation

      On November 19, 2008, Gianinna Gallardo (“Gallardo”),

then a thirteen-year-old student, suffered severe and permanent

injuries as a result of being struck by a vehicle after she was

dropped off by her school bus. ECF No. 1, at 11. She is in a

persistent vegetative state and is no longer able to care for herself.

Id. Gallardo’s medical expenses were paid by Medicaid and

WellCare of Florida, which paid $862,688.77 and $21,499.30,

respectively. Id. at 12.

      Gallardo’s parents filed suit in state court against those

allegedly responsible for her injuries—the truck’s owner, the

truck’s driver, and the Lee County School Board. ECF No. 10-1.

                                   9
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 10 of 34




 Gallardo sought past medical expenses, future medical expenses,

 lost earnings, and other damages, while her parents sought loss-

 of-consortium damages. Id. As required by Florida law, see §

 409.910 (11)(a), AHCA was notified of that lawsuit and, in turn, it

 asserted a lien against that cause of action for the amount it

 expended for Gallardo’s past medical expenses: $862,688.77. ECF

 No. 1, at 17. Gallardo’s case eventually settled for $800,000, and

 the court approved that settlement. Id. at 13; see also ECF No. 10-

 2 (approving the settlements). Thus, pursuant to Florida’s

 formula-based allocation, AHCA was due to be reimbursed

 $323,508.29 in medical expenses.

       Shortly after the settlement was finalized, Gallardo’s

 counsel notified AHCA of the settlement by letter. ECF No. 1, at

 17–18. In that letter, counsel explained that Gallardo’s damages

 were valued at over $20,000,000, and that the settlement

 amounted to a mere 4% recovery. Id. at 18. Thus, according to

 Gallardo, only $35,367.52 of her $800,000 settlement represented

 past medical expenses. Id. AHCA never responded to Gallardo’s

 letter. Id.

       Gallardo chose to contest AHCA’s lien through the state

 administrative procedure outlined in § 409.910(17)(b). Id. She

                                 10
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 11 of 34




 therefore followed the necessary requirements; namely, depositing

 the formula-based reimbursement of $323,508.29 into an interest-

 bearing account and filing a petition with the Division of

 Administrative Hearings in Tallahassee. Id. In those proceedings,

 Gallardo has argued that contrary to federal law, AHCA is

 endeavoring to recover its past Medicaid payments from

 settlement funds that do not represent compensation for past

 medical expenses. Id. at 18–19. AHCA, however, has argued that

 it is entitled to satisfy its lien from the portion of Gallardo’s

 settlement representing compensation for past and future medical

 expenses. Id at 19. AHCA has further argued that Gallardo may

 successfully challenge the formula-based allocation only if she can

 prove by clear and convincing evidence that the amount of her

 settlement representing past and future medical expenses is less

 than $323,508.29. Id.

        Gallardo brought this case seeking an injunction and

 declaratory judgment that Florida’s reimbursement statute

 violates federal law to the extent it (1) allows ACHA to satisfy its

 lien   beyond   the   portion   of    her   settlement   representing

 compensation for past medical expenses and (2) only allows her to

 successfully challenge the formula-based allocation by presenting

                                  11
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 12 of 34




 clear and convincing evidence that that amount is more than the

 portion of her settlement that represents compensation for past

 medical expenses. ECF No. 11, at 2. After this case was filed, the

 parties moved the Administrative Law Judge to hold those

 proceedings in abeyance, and that motion was granted pending

 resolution of the instant case. ECF No. 10-3. In this case, the

 parties have filed cross motions for summary judgment. ECF Nos.

 11–12 (Gallardo); ECF Nos. 13–14 (AHCA).

                                 II

       Summary judgment is appropriate when “the movant shows

 that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

 56(a). The parties agree to all material facts; thus, the only

 disputes relate to questions of law. “‘Where the unresolved issues

 are primarily legal rather than factual, summary judgment is

 particularly appropriate.’” Bruley v. Village Green Mgmt. Co., 592

 F. Supp. 2d 1381, 1388 (M.D. Fla. 2008) (quoting Uhl v.

 Swanstrom, 79 F.3d 751, 754 (8th Cir. 1996)).

                                 III

       Gallardo contends that § 409.910 conflicts with federal law

 and is therefore preempted to the extent that it allows AHCA to

                                 12
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 13 of 34




 satisfy its lien from a Medicaid recipient’s recovery for future

 medical expenses. This Court agrees.

       When a statute’s text is unambiguous, as is the case here,

 the court’s analysis begins and ends with the text. Reeves v. Astrue,

 526 F.3d 732, 734 (11th Cir. 2008) (citing CBS Inc. v. PrimeTime

 24 Joint Venture, 245 F.3d 1217, 1222–25 (11th Cir. 2001)). That

 is because “‘[i]f the statute speaks clearly to the precise question

 at issue, [courts] must give effect to the unambiguously expressed

 intent of Congress.’” Jackson v. Comm’r of Soc. Sec., 601 F.3d 1268,

 1271 (11th Cir. 2010) (quoting Barnhart v. Walton, 535 U.S. 212,

 217–18 (2002)).

       AHCA suggests that, given the Gordian knot that is the

 Medicaid Act, the issue before this Court is “not an easy” one to

 decide. ECF No. 14, at 3 & n.1. But as to the issue presented to

 this Court, the Medicaid Act could not be any clearer. By its plain

 language, it prohibits AHCA from satisfying its lien from anything

 but a Medicaid recipient’s recovery for past medical expenses.

       As a general matter, the anti-lien provision prohibits AHCA

 from imposing a lien against the property of a Medicaid recipient.

 § 1396p(a)(1). That includes liens against “medical assistance paid

 or to be paid.” Id (emphasis added). And although the third-party

                                  13
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 14 of 34




 liability and assignment provisions are exceptions that grant

 AHCA a restricted right of recovery, they are exceedingly narrow

 ones. See Ahlborn, 547 U.S. at 284–85 (noting these are narrow

 “exception[s] to the anti-lien provision” (citing Wash. State Dep’t of

 Soc. and Health Servs. v. Guardianship Estate of Keffeler, 537 U.S.

 371, 383–85 & n.7 (2003))).

       A plain reading of the statutory text shows that AHCA’s

 right of recovery is even narrower than it suggests; namely, it only

 applies to payments made for past medical expenses. To simplify

 this Court’s analysis, the critical statutory language is italicized.

 The    anti-lien   provision   prohibits     ACHA     from     seeking

 reimbursement from a recipient’s recovery for “medical assistance

 paid or to be paid.” § 1396p(a) (emphasis added). But “to the extent

 that payment has been made under the State plan for medical

 assistance,” AHCA may assert a lien or otherwise acquire a

 Medicaid recipient’s rights “to payment by any other [third] party

 for   such   [furnished]   health     care   items   or   services.”   §

 1396a(a)(25)(H). That necessarily suggests that AHCA may only

 seek reimbursement from funds representing payments for

 medical expenses that it previously made on the beneficiary’s

 behalf. See McKinney ex rel. Gage v. Phila. Housing Auth., No. 07-

                                  14
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 15 of 34




 4432, 2010 WL 3364400, at *9 (E.D. Pa. Aug. 24, 2010) (“It is clear

 from a reading of the statutory language that the italicized word

 ‘such’ refers to the ‘payment [that] has been made’—that is, the

 payments the state made on the beneficiary’s behalf in the past for

 medical expenses.” (emphasis in original)).

        Other provisions bolster that conclusion. For example, §§

 1396a(a)(25)(A)–(B) direct AHCA to seek reimbursement only to

 the extent of the third party’s liability “to pay for care and services

 available under the plan . . . .” See Ahlborn, 547 U.S. at 280

 (“‘[S]uch legal liability’ refers to ‘the legal liability of third parties

 . . . to pay for care and services available under the plan.’” (quoting

 § 1396a(a)(25)(A)) (emphasis in original)). Similarly, § 1396k(b)

 suggests that AHCA may only be reimbursed “for medical

 assistance payments made on behalf of an individual with respect

 to whom such assignment was executed . . . .” The Medicaid

 statute’s text is unambiguous and must therefore be followed;

 AHCA cannot reimburse itself for its past medical expenses from

 portions of the recipient’s recovery allocated to compensate for

 future medical expenses. 3



        3See, e.g., In re E.B., 729 S.E.2d 270, 299 n.35 (W. Va. 2012) (agreeing
 that “Ahlborn is more consistent with limiting a state’s recovery to settlement
                                       15
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 16 of 34




         Although the Supreme Court has not addressed this precise

 issue, related cases suggest it would reach the same conclusion.

 Take Ahlborn, for example. There, the Court held that a state may

 satisfy its Medicaid lien only through the portion of a recovery

 allocated for medical expenses. See Ahlborn, 547 U.S. at 281

 (limiting reimbursement to “medical expenses—not lost wages, not

 pain and suffering, not an inheritance”). In reaching that

 conclusion, it reasoned that “the federal third-party liability

 provisions require an assignment of no more than the right to

 recover that portion of a [recovery] that represents payments for

 medical care.” Id. at 282 (emphasis added and in original).

 Likewise, the Supreme Court later emphasized that states may

 “seek    reimbursement        for   medical     expenses     paid    on    the

 beneficiary’s behalf, but the anti-lien provision protects the

 beneficiary’s interest in the remainder of the settlement.” Wos v.

 E.M.A. ex rel. Johnson, 133 S. Ct. 1391, 1397 (2013) (emphasis

 added) (citing Ahlborn, 547 U.S. at 284). The Supreme Court’s



 proceeds that are allocated to past medical expenses, rather than to proceeds
 allocated to both past and future medical expenses generally”); McKinney, 2010
 WL 3364400, at *9 (“Therefore, it would appear that [the state agency] cannot
 draw on portions of the settlement designed to compensate for future medical
 expenses in order to reimburse itself for past medical expenditures.” (emphasis
 in original)).

                                       16
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 17 of 34




 references to “past medical expenses” and “medical expenses paid”

 support the conclusion that state agencies may not seek

 reimbursement of their past Medicaid payments from portions of

 a recipient’s recovery representing future medical expenses.

       Of course, this Court acknowledges that other courts have

 disagreed. See Special Needs Trust for K.C.S. v. Folkemer, No.

 8:10-cv-1077, 2011 WL 1231319, at *12 (D. Md. Mar. 28, 2011)

 (“The fact that the settlement in this case contained unstipulated

 amounts that might represent payments for future medical

 expenses, and the fact that the Department is seeking to recover

 from this unstipulated amount does not violate the anti-lien

 provision . . . .”); IP ex rel. Cardenas v. Henneberry, 795 F. Supp.

 2d 1189, 1197 (D. Colo. 2011) (concluding that the state agency

 “may seek reimbursement for its past medical expenses from funds

 allocated to ‘medical expenses,’ regardless of whether those funds

 are allocated for past or future medical expenses”); In re Matey,

 213 P.3d 389, 394 (Idaho 2009) (“Nothing in 42 U.S.C § 1396p

 indicates that the State may not seek recovery of its payments

 from a Medicaid recipient’s total award of damages for medical

 care whether for past, present, or future care.”). Those cases are

 non-binding. That aside, those cases are not persuasive because

                                 17
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 18 of 34




 the courts do not address the language referencing past medical

 expenses highlighted in Ahlborn, Wos, or §§ 1396a(a)(25)(A)–(B),

 1396a(a)(25)(H), and 1396k.

       AHCA cites to other provisions in § 1396k to argue that it

 may seek reimbursement for past medical expenses through

 portions of a recipient’s recovery allocated to compensate for future

 medical expenses. ECF No. 14, at 16–18. Specifically, it references

 language in § 1396k(a)(1)(A) that requires the recipient “to assign

 the State any rights . . . to support . . . and to payment for medical

 care from any third party.” According to AHCA, “payment for

 medical care” contemplates all medical care—including future

 medical care. ECF No. 14, at 17.

       That argument is clever, yet ultimately unconvincing.

 “[C]ourts cannot use tunnel vision when construing statutes;

 rather, statutes must be considered as a whole.” Fla. Democratic

 Party v. Scott, No. 4:16-cv-626, 2016 WL 6080990, at *2 (N.D. Fla.

 Oct. 10, 2016) (Walker, J.) (citing John Hancock Mut. Life Ins. Co.

 v. Harris Trust & Sav. Bank, 510 U.S. 86, 94 (1993)). Moreover,

 “specific statutes prevail over general ones.” Id. (citing D. Ginsberg

 & Sons v. Popkin, 285 U.S. 204, 208 (1932)). The Supreme Court

 thus construes the assignment provision in § 1396k(a) identically

                                  18
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 19 of 34




 as the one in § 1396a(a)(25); indeed, it has stated that §

 1396a(a)(25)(H)—which limits recovery “to the extent that

 payment has been made . . . for medical assistance for health care

 items    or   services   furnished    to”   a   recipient—“echoes   the

 requirement of mandatory assignment rights in § 1396k(a)[.]”

 Ahlborn, 547 U.S. at 281. Because § 1396k(a) is not interpreted as

 narrowly as AHCA suggests, its blinders-on approach is

 unavailing.

         This Court concludes that federal law prohibits state

 agencies from seeking reimbursement of past Medicaid payments

 from portions of a recipient’s recovery that represents future

 medical expenses. Florida’s statute is therefore preempted if and

 to the extent that it operates that way. See Irving v. Mazda Motor

 Corp., 136 F.3d 764, 768 (11th Cir. 1998) (“Conflict preemption

 exists where state law actually conflicts with federal law, making

 it impossible to comply with both, or where the state law ‘stands

 as an obstacle to the accomplishment and execution of the full

 purposes and objectives of Congress.’” (quoting Lewis v. Brunswick

 Corp., 107 F.3d 1494, 1500 (11th Cir. 1997))). And for that reason

 it is preempted. Florida law does not prohibit AHCA from

 asserting a lien on portions of a recipient’s recovery representing

                                      19
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 20 of 34




 future medical expenses; in fact, it explicitly allows it to do just

 that. § 409.910(17)(b) (allowing AHCA to recover from the “portion

 of the total recovery . . . for past and future medical expenses”

 (emphasis added)). Accordingly, that portion of the statute is

 preempted.

                                 IV

       Gallardo also asserts that § 409.910 and its one-size-fits-all

 statutory formula—which the Medicaid recipient may only rebut

 by presenting clear and convincing evidence to the contrary—

 violates due process and is preempted by federal law.

                                  A

       At first glance, Gallardo’s due-process argument is both

 circular and conclusory. According to her, the reimbursement

 statute violates due process because it takes the recipient’s

 property without affording it adequate process. Reading between

 the blurred lines of her gaunt argument, however, this Court can

 conceive of two possible due-process challenges.

       Gallardo could first argue, and it appears she does, that

 Florida’s reimbursement statute effectively turns due process on

 its head. The argument goes as follows. Florida’s statutory formula

 violates the Due Process Clause by allowing AHCA to take

                                 20
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 21 of 34




 Gallardo’s property—namely, the settlement funds not allocated

 for past medical expenses—and only allowing her to recover those

 funds if she can affirmatively disprove the formula-based

 allocation with clear and convincing evidence. In support, Gallardo

 cites cases holding that “the State’s power to regulate procedural

 burdens [is] subject to proscription under the Due Process Clause

 if it ‘offends some principle of justice so rooted in the traditions and

 conscience of our people as to be ranked as fundamental[.]’” Cooper

 v. Oklahoma, 517 U.S. 348, 367 (1996) (citing Patterson v. New

 York, 432 U.S. 197, 201–02 (1977)); see also Del Valle v. State, 80

 So.3d 999, 1013 (Fla. 2011) (holding that the necessity of certain

 criminal procedures “is rooted in the fundamental fairness notion

 required by due process”). But this case just doesn’t involve such a

 rule. Those cases highlight rare circumstances where a person is

 deprived of something so fundamental that imposing a heightened

 burden to challenge that deprivation violates the Due Process

 Clause. And in fact, those cases make explicit that the mere

 deprivation of money is not one of those rare circumstances. See

 Cooper, 517 U.S. at 363 (distinguishing the “‘mere loss of money’”

 from other civil proceedings where due process allows a heightened



                                   21
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 22 of 34




 burden of proof (citing Santosky v. Kramer, 455 U.S. 745, 756

 (1982))). Those cases are therefore readily distinguishable.

       Alternatively, Gallardo could have asserted that Florida’s

 reimbursement statute violates the Due Process Clause because it

 does not provide notice and a meaningful opportunity to be heard.

 See Mathews v. Eldridge, 424 U.S. 319, 349 (1976) (stating that

 “the essence of due process is the requirement that” a person be

 provided notice and a “meaningful opportunity to present their

 case”). It is undisputed that Medicaid recipients are provided

 notice. Thus, the only issue is whether Florida’s reimbursement

 statute grants recipients a meaningful opportunity to be heard.

 Gallardo could have argued that it doesn’t; that is, by placing such

 an onerous burden on Medicaid recipients to regain their property,

 Florida has so drastically undermined § 409.910’s post-deprivation

 remedy that it is essentially nonexistent and thus inadequate

 under federal law. See Hamlin v. Vaudenberg, 95 F.3d 580, 585

 (7th Cir. 1996) (holding that a “meaningless or nonexistent” post-

 deprivation remedy is inadequate). But that argument was not

 made, and this Court will not go out of its way to decide an issue

 that is not before it. This is particularly true where, as here, this

 Court explicitly asked Gallardo’s counsel to define the contours of

                                  22
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 23 of 34




 her due process claim at the hearing and whether he was making

 this specific argument, and counsel redirected this Court to Cooper

 and its progeny.

                                 B

       Secondly, and more broadly, Gallardo argues that Florida’s

 entire reimbursement statute conflicts with and is preempted by

 federal law. To the extent that Medicaid recipients must

 affirmatively disprove the arbitrary formula-based allocation with

 clear and convincing evidence to successfully overcome it, this

 Court agrees.

       One particular issue relevant to this case remained

 undecided   after   Ahlborn.   Because   states   may   not   seek

 reimbursement from “any part of a Medicaid beneficiary’s tort

 recovery ‘not designated as payments for medical care,’” how can

 states “determine what portion of a settlement represents

 payment for medical care[?]” Wos, 133 S. Ct. at 1397–98 (quoting

 Ahlborn, 547 U.S. at 284). In Wos, the Supreme Court considered

 a North Carolina statute that “establishe[d] a conclusive

 presumption that one-third of the [Medicaid recipient’s] recovery

 represents compensation for medical expenses.” Id. at 1398. The

 Court recognized that while some “rebuttable presumptions and

                                 23
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 24 of 34




 adjusted burdens of proof” may comply with the Medicaid statute,

 “[a]n irrebuttable, one-size-fits-all statutory presumption” that a

 pre-determined percentage of the recipient’s recovery constitutes

 “payment for medical care” does not. Id. at 1398–99, 1401

 (citations omitted). That is particularly so if the state has not

 provided evidence that such an allocation was “reasonable in the

 mine run of cases” and has no process “for determining whether

 [such an allocation] is a reasonable approximation in any

 particular case.” Id. at 1398–99. Because North Carolina’s

 irrebuttable, one-size-fits-all statutory presumption allowed “the

 State to take a portion of a Medicaid beneficiary’s tort judgment or

 settlement not ‘designated as payments for medical care[,]’” id. at

 1402 (quoting Ahlborn, 547 U.S. at 284), it was preempted by

 federal law.

       Florida’s statute suffers from that same defect, yet for more

 nuanced reasons. And this Court is not reaching that conclusion

 just because Florida’s reimbursement statute doesn’t pass the

 “smell test.” Rather, the Supreme Court has provided an effective

 framework to analyze this kind of scenario—a rebuttable

 presumption that is nearly impossible to rebut. Specifically, Wos

 teaches that states cannot accomplish through creative legislative

                                 24
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 25 of 34




 draftsmanship that which is prohibited under federal law. See

 Wos, 133 S. Ct. at 1398 (“A State may not evade the pre-emptive

 force    of   federal   law   by   resorting   to   creative   statutory

 interpretation or description at odds with the statute’s intended

 operation and effect.” (citing Nat’l Meat Assn. v. Harris, 565 U.S.

 452 (2012))). That is because “[i]n a pre-emption case . . . a proper

 analysis requires consideration of what the state law in fact does,

 not how the litigant might choose to describe it.” Id. In other words,

 preemption “is not a matter of semantics.” Id.

         But that is precisely what Florida has tried to do here;

 namely, evade federal law by enacting a “rebuttable” one-size-fits-

 all statutory formula that almost by definition allows AHCA to

 obtain more than that which it is entitled to. And by setting a

 baseline wholly detached from any rational standard—for

 instance, the federal Medicaid statute, Supreme Court case law, or

 AHCA’s past medical expenditures in that specific case—it does so

 in a wildly arbitrary fashion.

         Like in Wos, nothing in the record helps explain why Florida

 chose the precise formula that it did. It is therefore impossible to

 judge whether it is “likely to yield reasonable results in the mine

 run of cases.” Id. at 1402. If this case is any example, it is not likely

                                     25
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 26 of 34




 to do so. When the Florida legislature amended the reimbursement

 statute, it had the benefit of Wos and knew what changes were

 required to comply with federal law. See ECF No. 10-5, at 5. But

 rather than trying to adequately address Wos through thoughtful

 amendments, the Florida legislature simply slapped a band-aid on

 the reimbursement statute by calling the formula-based allocation

 rebuttable and requiring the recipient to meet a heightened

 burden to successfully challenge it. That superficial response is

 simply not enough.

       Similarly, although not before this Court, Florida’s

 reimbursement statute ignores that “[w]hen there has been a

 judicial finding or approval of an allocation between medical and

 nonmedical damages—in the form of either a jury verdict, court

 decree, or stipulation binding on all parties—that is the end of the

 matter.” Wos, 133 S. Ct. at 1399. In Florida, not even a jury’s

 allocation is immune from the reimbursement statute. See §

 409.910(11)(f) (applying Florida’s statutory formula to any case “in

 which the recipient or his or her legal representative is a party

 which results in a judgment, award, or settlement from a third




                                 26
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 27 of 34




 party”). That is further evidence that Florida did not adequately

 tailor its reimbursement statute to federal law.

        Moreover, Florida’s arbitrary statutory formula—which

 plucks a 25% figure for attorney’s fees out of mid-air—allows

 AHCA to take even more money than it is entitled to. The Rules

 Regulating the Florida Bar allow attorneys to set their fee on a

 sliding scale up to 40% of the plaintiff’s recovery. 4 See R.

 Regulating Fla. Bar 4–1.5(f)(4)(B)(i) (2017) (allowing an attorney

 to charge a contingent fee up to 33.3% of any recovery up to $1

 million before the filing of an answer and up to 40% after the filing

 of an answer). Florida’s statutory formula, however, only reserves

 25% of the judgment for attorney’s fees. That necessarily strips

 even more money from the recipient.

        An example is helpful. Imagine that AHCA asserts a

 $300,000     lien    against    a    recipient’s    cause     of   action    as




        4  That figure is conditioned on whether an answer has been filed or
 whether a demand for appointment of arbitrators has been made. Before either
 of those conditions occurs, Plaintiff’s attorneys may charge “33 1/3% of any
 recovery up to $1 million,” plus “30% of any portion of the recovery between $1
 million and $2 million,” plus “20% of any portion of the recovery exceeding $2
 million.” R. Regulating Fla. Bar 4–1.5(f)(4)(B)(i)(a) (2017). After one of those
 conditions occur, Plaintiff’s attorneys may charge “40% of any recovery up to
 $1 million,” plus “30% of any portion of the recovery between $1 million and $2
 million,” plus “20% of any portion of the recovery exceeding $2 million.” Id. 4–
 1.5(f)(4)(B)(i)(b).
                                       27
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 28 of 34




 reimbursement for expenditures it made on the recipient’s behalf.

 Because of liability issues, the recipient settles the case for

 $100,000—$10,000 of which represents past medical expenses.

 Since the recovery is less than AHCA’s lien, the formula-based

 allocation applies. Given the Florida Bar’s rules for attorney’s fees,

 the recipient’s attorney in either scenario could receive up to

 $40,000, and let’s say he does. Assuming a hypothetical formula

 tied to the Florida Bar’s attorney’s fees rules—meaning that 40%

 of the recipient’s recovery is reserved for attorney’s fees—and

 further assuming that the recipient is not able to rebut the

 formula-based allocation, AHCA and the recipient would both

 receive $30,000. Yet under Florida’s actual statutory formula,

 AHCA would receive $37,500, which would leave only $22,500 for

 the recipient—$7,500 less than the recipient would have received

 under the hypothetical formula.

                       Hypothetical Formula-          § 409.910(17)’s
                       Based Allocation tied to          Formula-
                          the Florida Bar’s               Based
                        Attorney’s Fees Rules           Allocation
  Attorney’s Fees              $40,000                    $40,000
      AHCA’s                   $30,000                    $37,500
  Reimbursement
     Recipient                   $30,000                  $22,500
     Recovery

 Consequently, Florida’s statutory formula allows AHCA to pocket

                                   28
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 29 of 34




 even more money it would have been entitled to under a formula

 tailored to the Florida Bar’s attorney’s fees rules.

       That result is not an accident. Florida did not hide the ball

 here; rather, it made explicit its intent to tilt the scales in AHCA’s

 favor. See ECF No. 10-4, at 4 (opining that § 409.910’s current

 iteration “increase[es] the likelihood the State will prevail in

 defending Medicaid liens,” “result[s] in an increase in [third-party

 liability] collections[,]” and “reduc[es] the expense and staff time”

 required to defend Medicaid liens). That is consistent with the

 Florida legislature’s intent “that Medicaid be the payor of last

 resort for medically necessary goods and services furnished to

 Medicaid recipients.” § 409.910(1).

       The arbitrary nature of Florida’s reimbursement statute

 alone is likely enough to rule that it is preempted. See Wos, 133 S.

 Ct. at 1398 (“If a State arbitrarily may designate one-third of any

 recovery as payment for medical expenses, there is no logical

 reason why it could not designate half, three-quarters, or all of a

 tort recovery in the same way.”). Yet it gets worse. On top of that

 arbitrary baseline, Florida has shifted the burden to the Medicaid

 recipient to prove that she is entitled to that which is already hers.

 And that burden is a particularly onerous one. Cf. Mfg. Research

                                  29
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 30 of 34




 Corp. v. Graybar Elec. Co., Inc., 679 F.2d 1355, 1360 (11th Cir.

 1982) (suggesting that a clear and convincing burden “is an

 onerous one”); Gordon v. Dennis Burlin Sales, Inc., 174 B.R. 257,

 259 (Bankr. N.D. Ohio 1994) (stating that “a clear and convincing

 evidence standard . . . is a more onerous burden of proof” (citing In

 re Smith, 170 B.R. 111 (Bankr. N.D. Ohio 1994))).

       What makes Florida’s reimbursement statute and AHCA’s

 application of that statute even more pernicious is that AHCA has

 both the authority and the capability to seek its reimbursement

 directly from the responsible third party (or, as here, parties). See

 § 409.910(11) (“The agency may, as a matter of right, in order to

 enforce its rights under this section, institute, intervene in, or join

 any legal or administrative proceeding in its own name in one or

 more of [a variety of] capacities[.]”). Yet in this case and many

 others, it simply chooses not to. And the effect of that choice should

 not be overlooked. Rather than paying its own attorneys to recover

 these funds, AHCA shifts a disproportionate share of the costs to

 the recipient—costs which come directly out of the recipient’s




                                   30
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 31 of 34




 recovery. Then AHCA seeks its reimbursement directly from the

 recipient’s already-reduced recovery.

        At a certain point, requiring a Medicaid recipient to

 overcome a hodgepodge of hurdles amounts to a quasi-irrebuttable

 presumption.      That     is   the   case    here;    although     Florida’s

 reimbursement statute—which requires Medicaid recipients to

 overcome obstacle after obstacle just to keep a portion of the

 judgment that the recipient is already entitled to—may be

 “rebuttable,” in practice, it is a quasi-irrebuttable one. 5 Yet that

 flouts federal law. Because Florida cannot save its reimbursement

 statute through wily draftsmanship, see Wos, 133 S. Ct. at 1398

 (“A state may not evade the pre-emptive force of federal law by

 resorting to creative statutory interpretation or description at odds

 with the statute’s intended operation and effect.”), it is therefore

 preempted.

        In so ruling, this Court wants to make itself absolutely clear.

 This Court is not saying that Florida may not enact a rebuttable,

 formula-based allocation to determine what portion of a judgment


        5 AHCA’s reference to other administrative proceedings where Medicaid
 recipients successfully rebutted the formula-based allocation does not
 undermine this conclusion. It is of no matter how certain Administrative Law
 Judges apply Florida’s reimbursement statute; their application of that statute
 isn’t before this Court. The statute itself is.
                                       31
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 32 of 34




 represents past medical expenses; in fact, the Supreme Court has

 suggested, without holding, just the opposite. See id. at 1402

 (mentioning that states “may even be able to adopt ex ante

 administrative criteria for allocating medical and nonmedical

 expenses”); see also Ahlborn, 547 U.S. at 288 n.18 (suggesting that

 states can enact “special rules and procedures for allocating tort

 settlements”). Nor is it saying that Florida may not shift the

 burden to Medicaid recipients to disprove that allocation; that

 issue is not before this Court, but it probably can. See Wos, 133 S.

 Ct. at 1401 (implying that certain “rebuttable presumptions and

 adjusted burdens of proof” may be “compliant with the federal

 statute”).

       And although this Court doesn’t get to rewrite Florida’s

 statute—and it doesn’t endeavor to do so—it can say when a

 Florida statute runs afoul of federal law. See Fresenius Med. Care

 Holdings, Inc. v. Francois, 832 F. Supp. 2d 1364, 1367 (N.D. Fla.

 2011) (Mickle, J.) (“Other times, preemption is implied, such as

 when . . . the state and federal law are in such conflict that their

 objectives are at odds or when it would be impossible to comply

 with both (known as conflict preemption).” (citing Fla. State

 Conference of the NAACP v. Browning, 522 F.3d 1153, 1167 (11th

                                 32
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 33 of 34




 Cir. 2008))). It does here. The reimbursement statute’s clear and

 convincing burden—when coupled with a formula-based baseline

 wholly divorced from reality and a requirement that the recipient

 affirmatively disprove that baseline to successfully rebut it—is in

 direct conflict with the Medicaid statute’s anti-lien and anti-

 recovery provisions. Thus, in this specific scenario, Florida’s clear

 and convincing burden is preempted by federal law.

       Accordingly,

       IT IS ORDERED:

       1. Gallardo’s Motion for Summary Judgment, ECF No. 11,

          is GRANTED.

       2. AHCA’s Motion for Summary Judgment, ECF No. 13, is

          DENIED.

       3. In its current form, § 409.910, Fla. Stat. (2016), is

          preempted by federal law; namely, 42 U.S.C. § 1396a, 42

          U.S.C. § 1396k, and 42 U.S.C. § 1396p.

       4. The Clerk shall enter judgment stating:

          Gianinna Gallardo, an incapacitated person, by and
          through her parents and co-guardians, Pilar Vassallo and
          Walter Gallardo, successfully proved that portions of §
          409.910(17)(b), Fla. Stat. (2016) are preempted by federal
          law. The State of Florida Agency for Health Care
          Administration is therefore enjoined from enforcing that
          statute in its current form.

                                  33
Case 4:16-cv-00116-MW-CAS Document 30 Filed 04/18/17 Page 34 of 34




          It is declared that the federal Medicaid Act prohibits the
          State of Florida Agency for Health Care Administration
          from seeking reimbursement of past Medicaid payments
          from portions of a recipient’s recovery that represents
          future medical expenses.

          It is also declared that the federal Medicaid Act prohibits
          the State of Florida Agency for Health Care
          Administration from requiring a Medicaid recipient to
          affirmatively disprove Florida Statutes § 409.190(17)(b)’s
          formula-based allocation with clear and convincing
          evidence to successfully challenge it where, as here, that
          allocation is arbitrary and there is no evidence that it is
          likely to yield reasonable results in the mine run of cases.

       5. The Clerk shall close the file.



          SO ORDERED on April 18, 2017.


                                       s/ MARK E. WALKER
                                       United States District Judge




                                  34
